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           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


                                          )
NUCOR CORPORATION,                        )
                                          )
                    Plaintiff,            )                  Before: Hon. Mark A. Barnett,
                                          )                          Chief Judge
     v.                                   )
                                          )                  Court No. 22-00070
UNITED STATES,                            )
                                          )
                    Defendant,            )
                                          )
          and                             )
                                          )
GOVERNMENT OF THE REPUBLIC OF             )
KOREA,                                    )
                                          )
                    Defendant-Intervenor. )
                                          )

DEFENDANT-INTERVENOR’S RESPONSE IN OPPOSITION TO MOTION TO STAY

       Defendant-Intervenor the Government of the Republic of Korea (“GOK”) hereby

responds to the motion to stay filed by Plaintiff Nucor Corporation (“Plaintiff”). ECF No. 25.

For the following reasons, Plaintiff’s motion to stay this case pending final disposition of Nucor

Corp v. United States, No. 22-00050 (Ct. Int’l Trade, filed Feb. 18, 2022) (“Nucor I”), should be

denied, and the briefing of this action should proceed pursuant to the schedule set in the Court’s

scheduling order. ECF No. 24.

       This response is timely submitted. Plaintiff filed its motion to stay proceedings on June

10, 2022. ECF No. 25. Pursuant to USCIT Rule 7(d), a response to a motion is timely if it is

filed within 21 days after service of such motion. This response is being filed within the 21-day

window for filing a response.
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       Plaintiff challenges in this appeal the U.S. Department of Commerce’s (“Commerce”)

final results in the 2019 administrative review of the countervailing duty order covering Certain

Carbon and Alloy Steel Cut-to-Length Plate From the Republic of Korea, 87 Fed. Reg. 6,842

(Dep’t Commerce Feb. 7, 2022), corrected by Certain Carbon and Alloy Steel Cut-to-Length

Plate From the Republic of Korea, 87 Fed. Reg. 21,096 (Dep’t Commerce Apr. 11, 2022). The

issue in this appeal is Commerce’s determination regarding the GOK’s alleged provision of

electricity for less than adequate remuneration (“LTAR”), which Nucor argues is unsupported by

substantial evidence or is otherwise not in accordance with law. See Compl. ¶¶ 20–21, ECF

No. 8. Nucor makes a similar argument in Nucor I (see Nucor I Compl. ¶¶ 20–21, ECF No. 10),

and has indicated it will raise this issue in several other ongoing administrative reviews.

       While Commerce used similar language and reasoning to support its determination

regarding the provision of electricity for LTAR in all of these cases, staying this and future

actions based solely on the fact that Commerce considered this same issue in the underlying

proceedings would neither conserve the resources of this Court or the parties nor promote

judicial economy for the reasons detailed below.

       First, despite the overlap regarding this issue, the additional cases in which Plaintiff has

indicated it plans to file an appeal differ in the number and substance of issues addressed by

Commerce and which may be appealed by Plaintiff, the respondent companies (which also vary

between the different reviews), or the GOK. For example, in certain of the cases identified by

Petitioner, Commerce determined that the Korean Emission Trading System (“K-ETS”) provides

countervailable benefits. This determination has already been appealed by certain respondents,

including with respect to Commerce’s decision in Certain Cut-to-Length Carbon-Quality Steel

Plate. See Hyundai Steel Company v. United States, No. 22-00029 (Ct. Int’l Trade, filed Jan. 28,



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2022). 1 It is also likely that parties will appeal other aspects of the administrative reviews that

Plaintiff has indicated should be stayed pending the outcome of Nucor I.

       The Court has previously consolidated cases where the actions challenge aspects of the

same final determinations or results. See e.g., Oman Fasteners, LLC v. United States, No.

18-00244, 2019 Ct. Intl. Trade LEXIS 105, at *21 (Ct. Int’l Trade Aug. 8, 2019) (finding that

consolidation is appropriate where actions concern the same underlying administrative

determination based on judicial economy). It is likely that interested parties may similarly

request consolidation where challenges are raised regarding multiple issues in the additional

cases identified by Plaintiff. A stay of all cases involving the alleged provision of electricity for

LTAR pending the final disposition of Nucor I would prevent such consolidation, forcing

different aspects of the same final results to be litigated as separate proceedings. In the

alternative, if the Court were to grant the stay in this proceeding but to decline to stay the

proceedings and to consolidate the issues in the additional cases identified by Plaintiff, Plaintiff’s

approach could result in a patchwork of stays whereby the litigation regarding the same issue

would proceed in a handful of cases but not in others. Neither scenario would result in an

efficient use of the Court’s and the parties’ resources or promote judicial economy; in fact, it

would likely have the opposite effect.

       Second, while the issue of the alleged provision of electricity for LTAR in Korea has

been raised in several countervailing duty administrative reviews, those appeals have – to date –

never resulted in a decision from the Court of Appeals for the Federal Circuit (“Federal Circuit”)




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  This appeal was not consolidated with the appeal from the same administrative determination
regarding the GOK’s alleged provision of electricity for LTAR, but it demonstrates that
countervailing duty cases with respect to Korea involve a number of contested issues that may be
raised by parties in future appeals besides the alleged provision of electricity for LTAR.

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that would require Commerce to treat Korea’s provision of electricity in a particular manner.

Notably, Plaintiff seeks a stay pending an appeal that was only recently filed before this Court.

As the Government points out in its response to Plaintiff’s motion, because proceedings in Nucor

I are still at the very early stages, the stay that Plaintiff seeks could last several years. See ECF

No. 26, pp. 5-6. Moreover, there is no guarantee that Nucor I will ever be appealed to the

Federal Circuit or, if such an appeal is filed, that the resulting decision from the Federal Circuit

would mandate a particular outcome in this appeal. Thus, this action could be delayed for years

without any of the supposed benefits touted by the Plaintiff if this Court issues the requested

stay.

        Third, to the extent the issue is identical, as Plaintiff alleges, parties and the Court may

simply use the same arguments and reasoning. This would minimize the expenditure of

resources without unduly delaying the proceedings. Thus, any conservation of judicial resources

resulting from a stay would be minimal.

        Lastly, an indefinite stay of the kind that Plaintiff seeks would be harmful to the GOK as

such a delay increases the likelihood that GOK personnel familiar with the issue will be replaced

before the Court’s final determination, which would result in the GOK expending additional time

and resources to train new personnel and maintain records regarding past actions. The GOK is

also cognizant of and concerned by the potential harm that an indefinite delay in the resolution of

this case would have on Korean exporters whose entries remain suspended pending the final

decision in this action. The cash deposit rate for Korean exporters during 2019 was the rate set

forth in the countervailing duty order, which was 4.31% until it was adjusted to 3.72% effective

November 18, 2019 following litigation regarding the original order. Certain Carbon and Alloy

Steel Cut-To-Length Plate From the Republic of Korea: Notice of Court Decision Not in



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Harmony With Final Countervailing Duty Determination, and Notice of Amended Final

Countervailing Duty Determination, 84 Fed. Reg. 64,459 (Nov. 22, 2019). The rate calculated in

the 2019 administrative review for the companies subject to the review was de minimis, which

would result in liquidation of covered entries without any countervailing duties. See 87 Fed.

Reg. at 6,843-44. A stay would unreasonably harm Korean exporters that are otherwise entitled

to receive refunds.

       In sum, if Plaintiff’s request for a stay were granted, it would create, rather than

eliminate, additional burdens on time and resources for the Court and all parties involved,

contrary to court rules and precedent. USCIT Rule 1 requires the court rules to “be construed,

administered, and employed by the court and the parties to secure the just, speedy, and

inexpensive determination of every action and proceeding” (emphasis added). Based on this

principle, the Court has repeatedly held that, while the authority to stay proceedings is within the

Court’s discretion, it “must weigh and maintain an even balance between competing interest[s]

when deciding whether a stay is appropriate.” Nexteel Co. Ltd. v. United States, Slip Op. 22-5,

2022 Ct. Intl. Trade LEXIS 4 at *4 (Ct. Int’l. Trade Jan. 21, 2022). In doing so, the Court

considers judicial economy, efficiency, and parties’ resources. See Landis v. N. Am. Co., 299

U.S. 248, 255-57 (1936); Cherokee Nation v. United States, 124 F.3d 1413, 1416 (Fed. Cir.

1997); Georgetown Steel Co. v. United States, 259 F. Supp. 2d 1344, 1347 (Ct. Int’l Trade 2003).

A stay in this case would fail to adequately balance the interests of the parties and would

inappropriately favor Plaintiff over all other parties.




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       For the aforementioned reasons, the GOK respectfully requests that the Court deny

Plaintiff’s motion to stay and proceed pursuant to the established briefing schedule.


                                          Respectfully submitted,
                                          /s/ Yujin K. McNamara
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